      Case 1:18-cv-00134-BKS-ATB           Document 6       Filed 02/05/18     Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISRICT OF NEW YORK

                                                )
 NEW YORK STATE RIFLE & PISTOL                  )
 ASSOCIATION, INC., et al.,                     )
                                                )
                  Plaintiffs,                   )   Civil Action No. 18-cv-134-BKS-ATB
                                                )
         v.                                     )
                                                )
 GEORGE P. BEACH II, et al.,                    )
                                                )
                  Defendants.                   )


                          MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to N.D. NY LOC. R. 83.1(d), I, Kathleen McCaffrey Baynes, attorney for Plaintiffs

New York State Rifle & Pistol Association, Inc., et al., in the above-referenced action, hereby

move the Court to admit David H. Thompson, pro hac vice to appear and participate as co-counsel

in this case for Plaintiffs.

        Movant represents that David H. Thompson is qualified and licensed to practice law before

the courts of the District of Columbia and is a member in good standing of that bar. Movant finds

David H. Thompson to be of high moral character and suitable for admission to the United States

District Court for the Northern District of New York.

        David H. Thompson’s relevant identifying information is as follows:

        1523 New Hampshire Avenue, N.W.
        Washington, D.C. 20036
        Tel: (202) 220-9600
        Fax: (202) 220-9601
        dthompson@cooperkirk.com
     Case 1:18-cv-00134-BKS-ATB   Document 6     Filed 02/05/18   Page 2 of 3




Dated: February 5, 2018               Respectfully submitted,

                                      s/Kathleen McCaffrey Baynes
                                      Kathleen McCaffrey Baynes
                                      Bar Roll No. 504154
                                      KATHLEEN MCCAFFREY BAYNES, ESQ., PLLC
                                        Attorney of Record
                                      21 Everett Road Extension, Suite A-4
                                      Albany, NY 12205
                                      (518) 489-1098
                                      kmb@kmbaynes.com

                                      Attorney for Plaintiffs




                                    -2-
     Case 1:18-cv-00134-BKS-ATB            Document 6        Filed 02/05/18     Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2018 I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, and I hereby certify that I have caused the

document to be mailed by First Class USPS Mail to the following:

George P. Beach II
New York State Police
1220 Washington Avenue
Building 22
Albany, NY 12226,

Hon. Richard J. McNally, Jr.
Rensselaer County Courthouse
80 Second Street
Troy, NY 12180


                                                  s/ Kathleen McCaffrey Baynes
                                                  Kathleen McCaffrey Baynes

                                                  Attorney for Plaintiffs




                                               -3-
